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                  EXHIBIT 14
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      % 4c
    :*“                       DEPARTMENT OF HEALTH& HUMAN SERVICES                                    office of Inspector General
     :*
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         ‘*,*,,,a

                                                                                                      Memorandum
                   Date       ‘JULII 19%

                              J-G’,,,,,.*X!3A
                   From

                              Inspector .ener
                   Subject
                              Review of Ph         Acquisition Costs for Drugs Reimbursed Under the Medicaid
                              Prescription Drug Program of the Montana Department of Public Health and Human
                   To         Services (A-06-95 -OO068)

                              Bruce C. Vladeck
                              Administrator
                              Health Care Financing Administration


                              Attached for your information and use is our final report entitled, “Review of
                              Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription
                              Drug Program of the Montana Department of Public Health and Human Services.”
                              This review was conducted as part of a nationwide audit of pharmacy drug
                              acquisition costs at the Health Care Financing Administration’s request. Most States
                              reimburse pharmacies for Medicaid prescriptions using a formula which generally
                              discounts the average wholesale price (AWP) by 10.5 percent. The objective of our
                              review was focused on developing an estimate of the difference between the actual
                              acquisition costs of drugs of pharmacies and AWP for both brand name and generic
                              drugs.

                              The Montana Department of Public Health and Human Services (State Agency) was
,
                              1 of 11 States randomly selected as part of the nationwide review. Montana reported
                              drug expenditures of $26 million in Calendar Year 1994.

                              Through statistical sampling, we obtained pricing information from 43 Montana
                              pharmacies. We obtained 2,924 invoice prices for brand name drugs, and 1,662
                              invoice prices for generic drugs. The overall estimate of the extent that AWP
                              exceeded pharmacy purchase invoice prices was 16.2 percent for brand name drugs
                              and 48.5 percent for generic drugs. The national estimates are 18.3 percent and
                              42.5 percent, respectively. The estimates combine the results for four categories of
                              pharmacies including rural-chain, rural-independent, urban-chain, and urban-
                              independent. The estimates exclude the results obtained from non-traditional
                              pharmacies (nursing home pharmacies, hospital pharmacies, home IV, etc.) because
                              such pharmacies purchase drugs at substantially greater discounts than retail
                              pharmacies, and including them would have inappropriately inflated our percentages.
1   ?
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        Page 2- Bruce C. Vladeck

        We are recommending that the State Agency consider the results of this review as a
        factor in any fbture changes to pharmacy reimbursement for Medicaid drugs.

        In response to our draft report, the State Agency expressed concerns about the
        evaluation of Medicaid pharmacy pricing. The State Agency also raised questions
        concerning the fi.uther discounting of AWP in pricing formulas and the effect of its
        result. The State Agency’s comments are incorporated in our final report.

        We welcome any comments you have on this Montana State report. If you have any
        questions, please call me or have your staff contact George M. Reeb, Assistant Inspector
        General for Health Care Financing Audits, at (410) 786-7104.

        To facilitate identification, please refer to Common Identification Number
        A-06 -95-OO068.

        Attachment
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       Department of Health and Human Services
                  OFFICE OF
             INSPECTOR GENERAL




                  REVIEW OF
         PHARMACY ACQUISITION COSTS
       FOR DRUGS REIMBURSED UNDER THE
     MEDICAID PRESCRIPTION DRUG PROGRAM
                    OF THE
    MONTANA DEPARTMENT OF PUBLIC HEALTH
             AND HUMAN SERVICES
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                                            SUMMARY
 A t the reauest of the Health Care Financing Administration (HCFA), the Office of Inspector
fiGenera~(OIG) conducted a nationwide review of pharmacy acquisition costs for drugs
reimbursed under the Medicaid prescription drug program. Since most States reimburse
pharmacies for Medicaid prescriptions using a formula which discounts the average wholesale
price (AWP), the objective of our review was to develop an estimate of the difference between
the actual acquisition costs of drugs of the pharmacies and AWP for both brand name and
generic drugs.

To accomplish our objective, we selected a random sample of 11 States from a universe of 48
States and the District of Columbia. Wlzona was excluded from the universe of States because
the Medicaid drug program is a demonstration project using prepaid cavitation financing and
Tennessee was excluded because of a waiver received to implement a statewide managed care
program for Medicaid. Montana was one of the sample States, as well as California, Delaware,
District of Columbia, Florida, Maryland, Missouri, Nebraska, New Jersey, North Carolina, and
Virginia.

Additionally, we selected a sample of Medicaid pharmacy providers from each State and
obtained invoices of their drug purchases. The pharmacies were selected from each of five
categories--rural-chain, rural-independent, urban-chain, urban-independent, and non-traditional
pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
traditional category so as to be able to exclude those pharmacies from our overall estimates. We
believed such pharmacies purchase drugs at substantially greater discounts than retail
pharmacies, and including them would have inflated our percentages.

We compared each invoice drug price to AWP for that drug and calculated the percentage, if
any, by which AWP exceeded the invoice price. We then projected those differences to the
universe of pharmacies in each category for each State and calculated an overall estimate for
each State. Additionally, we projected the results from each State to estimate the nationwide
difference between AWP and invoice price for each category.

In Montan~ we obtained pricing information from 43 pharmacies. Specifically, we obtained
2,924 invoice prices for brand name drugs, and 1,662 invoice prices for generic drugs. For
Montana, tie overall estimate of the extent that AWP exceeded invoice prices was 16.2 percent
for brand name drugs and 48.5 percent for generic drugs. The national estimates are
18.3 percent and 42.5 percent, respectively. The estimates combine the results for four
categories of pharmacies including rural-chain, rural-independen~ urban-chain, and urban-
independent and exclude the results obtained from non-traditional pharmacies.


   Review of Pharmacy Acquishion Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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    We are recommending that the Montana Department of Public Health and Human Services
    (State Agency) consider the results of this review as a factor in any future changes to pharmacy
    reimbursement for Medicaid drugs. We will share the information with HCFA from all 11
    States in a consolidation report for their use in evaluating the overall Medicaid drug program.

    The Director of the State Agency responded to our draft report in a letter dated April 4, 1996.
    The State Agency stated that any evaluation of Medicaid pharmacy pricing should also consider
    the dispensing fee portion of the payment formula and the effect of Federal upper limit pricing
    for generic drugs. The State Agency was also concerned that further discounting of AWP in
    pricing formulas would result in a ccmesponding inflation of AWP.

    We agree with the Director that acquisition cost is just one factor to consider in evaluating
    Medicaid pharmacy reimbursement. We also agree that inflation of AWP could result from
    further discounting AWP in pricing formulas. However, we believe that information on prices
    actually paid by pharmacies will be useful to both HCFA and the States in setting future
    pharmacy reimbursement for the ingredient cost of drugs. The full text of the Director’s
    comments is included in Appendix 4.




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       Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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                                        I NTRODUCTION
At the request of HCFA, OIG, Office of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
Montana Department of Public Health and Human Services (State Agency). The objective of our
review was to develop an estimate of the difference between the actual acquisition costs of drugs
and AWP. This review was conducted as apart of a nationwide review of pharmacy acquisition
costs. Montana was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The
AWP is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
Medispan or the Blue Book--publications universally used in the pharmaceutical industry. Prior
to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
OIG issued a report in 1984 which stated that, on avm”ge, pharmacies purchased drugs for
15.9 percent below AWP. In 1989, OIG issued a follow-up report which concluded that
pharmacies were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and
1989 reports combined brand name and generic drugs in calculating the percentage discounts and
included a comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual fhrther provided that, absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
December 31, 1994 and HCFA requested that we, once again, determine the difference between
AWP and actual pharmacy acquisition cost.

Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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The State Agency reported drug expenditures of $26 million in Calendar Year (CY) 1994.

SCOPE

Our review was performed in accordance with generally accepted government auditing standards.
The objective of our review was to develop an estimate of the difference between AWP and the
actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
providers. Our objective did not require that we identi~ or review any internal control systems.

Our review was limited to ingredient acquisition costs and did not address other areas such as:
the effect of Medicaid business as a contribution to other store sales; the cost to provide
professional services other than dispensing a prescription such as therapeutic interventions,
patient education, and physician consultation; and the cost of dispensing which includes costs for
computers, multi-part labels, containers, tecl-uical staff, transaction fees, Medicaid specific
administrative costs, and general overhead. We also did not take into consideration the effect of
Federal upper limit amounts on generic drug reimbursements or usual and customary charge
limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
reimbursements in a subsequent review.

We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
Agency was responsible for classifying each pharmacy as chain, independent or non-traditional.
For purposes of this review, a chain was defined as four or more pharmacies with common
ownership. We determined whether each pharmacy was rural or urban by comparing the county
location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
components. We selected a stratified random samplegf 60 pharmacies with 12 pharmacies
selected from each of 5 strata--rural-chain, rural-independent, urban-chain, urban-independent,
and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). We
included the non-traditional category so as to be able to exclude those pharmacies from our
estimates. We believed that such pharmacies are able to purchase drugs at substantially greater
discounts than a retail pharmacy and would inflate our estimate.

We requested, from each pharmacy selected, the largest invoice from each different source of
supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
Each pharmacy was assigned a month from January through September in order to provide a
cross-section of this 9-month time period. However, we permitted one pharmacy to provide
invoices from December as invoices were not available from the earlier period.

We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that
the invoices contained the information necessary for our review. We eliminated over-the-counter
items. Some invoices did not include National Drug Codes (NDC), which were needed to obtain

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    AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red
    Book, a nationally recognized reference for drug product and pricing information, as a reference
    for drug product and pricing information, as a reference to obtain NDCS or identify over-the-
    counter items. One prominent wholesaler, whose invoices contained that wholesaler’s item
    number rather than NDCS, provided us with a listing that converted their item number to an
    NDC. If we were unable to identi~ the NDC for a drug, we eliminated the drug. This was a
    common occurrence for generic drugs where there was no indication on the invoice as to the
    manufacturer of the drug.

    We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
    We used that listing to classi~ each drug on the invoices as brand or generic. If a drug was not
    on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
    Additionally, we obtained drug expenditure information from HCFA-64 Reports.

    The State of Montana provided us with a pricing file for the purpose of obtaining the AWP for
    each drug. We compared the invoice drug price to AWP for each drug and calculated the
    percentage, if any, by which AWP exceeded the invoice price. If a drug from an invoice was not
    on the pricing file we eliminated that drug.

    An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
    pharmacy representatives from the sample States. At this meeting, we presented a methodology
    for performing the review and the methodology was refined with input from the State
    representatives. At a follow-up meeting held in Richmond, Virginia, on
    September 27-28, 1995, we presented the results of our review with the sample States.

     We used OAS statistical computer software to calculate all estimates as well as to generate all
     random numbers. We did not independently veri@ any information obtained from third party
     sources. Our review was conducted by our Little Rock, Arkansas OAS field office with
     assistance from our OAS field offices in Baton Rouge, Louisiana, and Austin, Texas from
    “September 1994 to September 1995.




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                                    FINDINGS AND RECOMMENDATIONS
BRAND NAME DRUGS

We estimate that AWP exceeded invoice prices for brand name drugs by 16.2 percent. The
estimate combined all pharmacy categories except for non-traditional pharmacies and was
based on the comparison to AWP of 2,924 invoice prices received from 43 pharmacies. The
standard deviation for this estimate was 0.56 percent (see Appendix 2).

The estimates that AWP exceeded invoice prices for brand name drugs are summarized in the
following table:

                                                       E s t i m a t e d        D i f f e r e n c e



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The following table shows the number of pharmacies sampled and the number of prices
reviewed by individual category for brand name drugs.

                                                   Number of                                      -rices Trom
                                               Sample Pharmacies                               Sample Pharmacies
                                                                                                                                                  —

                 Rursl-C hain


 Rural- lndopendent


             U r b a n - C h a i n


 Urban -lndepondeni


       N o n - T r a d i t i o n a l


 O v e r a l l   (Exe.     Non T>

                                          60          40     ao   =0           10         0   S00   1000   1    S00   2000   2S00   3000   3500




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                        of the Montana Department of Public Health and Human Services
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GENERIC DRUGS

We estimate that AWP exceeded invoice prices for generic drugs by 48.5 percent. Once again,
the estimate combined all pharmacy categories except non-traditional pharmacies. The estimate
was based on the comparison to AWP of 1,662 invoice prices received from 43 pharmacies. The
standard deviation for this estimate was 1.51 percent (see Appendix 2).

The estimates that AWP exceeded invoice prices for generic drugs are summarized by
individual categories in the following table:

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                                                                                                                                      No”T>




The following table shows the number of pharmacies sampled and the number of prices
reviewed by individual category for the generic drugs.

                                              Number of                                              Prices f r o m
                                          Sample Pharmacies                                      Sample  Pharmacies


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 Rural-l ndapendent                   ,,... ““”””    ”””””””””””””””””””””””””””””””              E      -------------------------

                                                                               1 1
        Urban-Chain                       .- ““”’””””””””””””””    “’”” ““
                                   ..’”

 Urban-independent


     Non-Traditional
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   Review of Pharrnaey Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                        of the Montana Department of Public Health and Human Services
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                      C ONCLUSIONS                  AND         RECOMMENDATION

    Based on our review, we have determined that there is a significant difference between AWP
    and pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
    significantly greater for generic drugs than for brand name drugs. In general, State
    representatives believed that the review supported current State practices to establish pharmacy
    reimbursement for ingredient cost at levels below AWP.

    We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
    any change to that policy should also consider the other factors discussed in the Scope section of
    our report. Additionally, the effect of Federal upper limit amounts on generic drug
    reimbursements or usual and customary charge limitations should be taken into consideration.
    However, a change in any of the factors affecting pharmacy reimbursement could have a
    significant impact on expenditures because of the size of the program ($26 million) in Montana.
    We believe that the difference between AWP and pharmacy acquisition costs as determined by
    our review is significant enough to warrant consideration by the State in any evaluation of the
    drug program. Therefore, we recommend that the State Agency consider the results of this
    review in determining any future changes to pharmacy reimbursement for Medicaid drugs.

    STA TEA GENCY’S COikfMENTS
    The Director of the State Agency responded to our draft report in a letter dated April 4, 1996.
    The Director stated that any evaluation of Medicaid pharmacy pricing should also consider the
    dispensing fee portion of the payment formula and the effect of Federal upper limit pricing for
    generic drugs. The Director was also concerned that further discounting of AWP in pricing
    formulas would result in a corresponding inflation of AWP.

    OIG’S RESPONSE
    We agree with the Director that acquisition cost is just one factor to consider in evaluating
    Medicaid pharmacy reimbursement. We also agree that inflation of AWP could result from
    further discounting AWP in pricing formulas. However, we believe that information on prices
    actually paid by pharmacies will be usefid to both HCFA and the States in setting future
    pharmacy reimbursement for the ingredient cost of drugs. The full text of the Director’s
    comments is included in Appendix 4.




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                           APPENDICES

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                                                                               APPENDIX 1
                                                                                PAGE 1 of 2

                                SAMPLE DESCRIPTION

     Sample Objectives:

          Develop an estimate of the extent that Average Wholesale Prices (AWP) exceed actual
          invoice prices to Medicaid pharmacies in Montam for brand name drugs and for
          generic drugs.

     Population:

          The sampling population was pharmacy providers participating in the Medicaid
          prescription drug program of the State Agency.

     Sampling Frame:

          The sampling frame was a listing of all pharmacy providers participating in the Medicaid
          prescription drug program.

     Sample Design:
                                                       : ~.
          A sample of 12 pharmacies was randomly selected from each of 5 strata. The five strata
          of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
          non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). Each
          pharmacy was assigned a month from 1994 for which to provide invoices. All
          pharmacies were initially assigned a month from January through September in a method
          designed to provide a cross-section of the 9-month period. However, some pharmacies
          were permitted to submit invoices from November or December as invoices were not
          available for the month originally assigned. The largest invoice from each of four
          different sources of supply was requested. The sources of supply were identified as
          wholesalers, chain warehouse distribution centers, generic distributors, and direct
          manufacturer purchases. All invoice prices were compared to AWP.
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    Sample Size:

          Twelve pharmacies were selected from each stratum for a total of 60 pharmacies.

    Source of Random Numbers:

          OAS statistical sampling software was used to generate the random numbers.


    Characteristics to be Measured:

          From our review of the pharmacy invoices, we calculated the percentage that AWP
          exceeded actual invoice prices for all drugs on the invoices submitted.

    Treatment of Mksing Sample Items:

          No spare was substituted for a pharmacy that did not provide information. If a pharmacy
          did not send an invoice for a particular type of supplier, we assumed that the pharmacy
          did not purchase drugs from that type of supplier during the month assigned to the
          pharmacy.                                      .!
    Estimation Methodology:

          We used OAS Statistical Software to project the percentage difference between AWP
          and actual invoice prices for each stratum, as well as an overall percentage difference.
          The overall percentage difference excluded the non-traditional pharmacies. The
          projections were done separately for brand name drugs and generics.

    Other Evidence:

          We obtained AWP from First DataBank.
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                                                                                            APPENDIX 2
                        MONTANA SAMPLE RESULTS
                     BRAND NAME AND GENERIC DRUGS




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                                                                                            .;&.




 RURAbCHAIN                                      994               17.(             1.8!         16.1$       17.71


 RURAIANDEPENDENT                                412               15.’             3.0$         14.11       17.19

 URBAN-CHAIN                                   1,092               17.!             2.Z          16.6!        18.24

 URBAN-INDEPENDENT                               42t               16.[              1.3:        16.3!       17.23


 NON-TRADITIONAL                                 40(              28.(              8.41        24.4(        31.6:

 0VEIL4LL (EXCL NON-TRAD)                     2,924                16:              0.5(         15.3{        17.1(




 RURALCHAIN                  43   12             552              50.2              9.38        46.43         53.99

 RURALINDEPENDENT           11$   10             213              48.3              7.89        44.35         52.21

 URBAN-CHAIN                 z?   11             662              48.4              8.43        45.33         51,38


 URBAN-INDEPENDENT           1(   10             235               45.i             8.2S         42.55        47.83

 NON-TRADITIONAL             4!   11             284              62.(           12.72           56.47        67.44


 OVERALL @XCL NON-TRAD)     20(   43           1.662              48.:               1.51       45.97         50.94
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                                                                                                   APPENDIX 3
                                         NATIONWIDE SAMPLE RESULTS
                                        BRAND NAME AND GENERIC DRUGS




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                                                                            ESITMATE
                                                                                           STANDARD
                                                                                          “ E R R O R
                                                                                                              90 PERCENT
                                                                                                          CONFIDENCE LEVEL

                                                                                                          LQWER
                                                                                                           LIMIT
                                                                                                                     UPPER
                                                                                                                     LIMIT



                                                                   5,723           17.4            1.05      15.67      19.13


                                                                   3,043           16.4            1.07      14.63      18.15


                                                                   7,198           18.5            0.52      17.60      19.31
     A“
    -N.         URBAN-INDEPENDENT                                  3,009           18.7            0.90      17.22      20.19
    :D .
    .....
    ,“:.        NON-TRADITIONAL                                     1,762          27.5            2.28      23.76      31.27
       ,.
        ,,.     oVERML (EXCL NON-TRAE                              18,973          18.3            0.66      17.21      19.38
    “.,



        . .;.

                RU~CHAIN                    1,09!    73            2,963           47.5            1.63      44.82      50.20
,
     G          RUIL4L-INDEPENDENT          1,49s    78             1,798          47.4            0.93      45.85      48,92
     E .
    ,.
     N          URBAN-CHAIN                 8,194    72             2,634          37.6            2.82      32.97      42.26
    “E
      R         URBAN-INDEPENDENT           6,24i    91             1,680          46.7            2.44      42.70      50.73
      I
                                            2,02(    5s             1,262          57.7            1.98      54.43      60.96


                                           17,03(   314             9.075          42.5            0.90      40.97      43.93
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                                                DEPARTMENT OF
                                      PUBLIC HEALTH AND HUMAN SERVICES
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                                                                                               PETER S. BLOUKE, PhD
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                         Y                                                                             PO BOX 4210
                                                                                       HELENA, MONTANA 59604-4210
                                                                                                      (406) 444-5622
                                                                                                    FAX (406) 444-1970



        April 4, 1996

        Mr. George M. Reeb, Asst. Inspector General
        Department of Health and Human Services
        OfXce of the Inspector General
        330 Independence Avenue, S.W.
        Washington, D.C. 20201

        Dear Mr. Reeb:
        On March 29, 1996, the Montana Department of Health and Human Services received the draft
        report of a review of pharmacy acquisition costs. The study results indicate the national average
        acquisition costs for brand products are estimated to be AWP minus 18.3 percent and for generic
        products they are estimated to be AWP minus 42.45’%0. Montana’s corresponding average
        discounts as computed by the OIG are 16.23% and 48.46% respectively. Montana currently
        pays the lesser of AWP minus 10%, Federal upper limit for multi-source generic products. In
        addition to the product cost Medicaid also reimburses a dispensing fee not to exceed $4.08 per
        script and limits payment for the total of both components
                                                              - ,, to the usual and customary charge for
        the prescription..

        It is important to note that the study did not investigate the payment of these services by
        Medicaid, only the cost of acquisition of the drug by the providers. We believe all states
        involved are concerned that if these numbers are directly compared to the discounted AWP
        method of Medicaid Pharmacy pricing, confision and questions will arise. The two major
        factcr~ that ~Jst a]SO be considered if this comparison is done relate to the dispensing fee
        portion of the payment formula and the effect of Federal upper limit (FUL) pricing for generic
        drugs. No work was petiormed by the OIG to determine how total reimbursement for pharmacy
        services relates to the cost of providing the service.

        It is expected that when these results are published that the immediately concerns will be raised
        that pharmacy providers are being reimbursed more than the acquisition cost of the products and
        that changes should be made to the pricing formula to increase the discount on AWP. In order
        to address these concerns, states must do additional work to determine whether the cost to
    .   dispense is being accurately reimbursed and what effect the FUL pricing has on the discount for
        generic. In Montana we currently believe that the dispensing fee is below the cost to dispense
        because of the capon dispensing fees that is currently in place and has been for many years.
        Unfortunately, the FUL affect is not known at this time. The OIG has offered to release the base
        data so that FUL impact can be calculated by the states, but these data are not expected to be
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    Mr. George M.Reeb, Asst. InspectorGeneral
    Apri14,1996
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    received until afierthe findings arepublished. Atthattime, work could beperformedto
    determine the impact of FUL on generic pricing.

    We also believe that fiu-ther discounting the AWP in pricing formulas will result in a
    corresponding inflation of AWP to mitigate the impact. This might result in a cycle of action
    and reaction that results in increased administrative burden but little savings to Medicaid.
    Caution and carefil thought should precede action in addressing this situation.

    It is imperative that this information be given equal consideration in any evaluation of Medicaid
    pharmacy pricing so that improper assumptions and conclusion are not made.

    If you have any questions, please contact Terry Krantz of my staff at (406)444-4145. We
    appreciate the cooperation and inclusion in this process and look forward to continuing this
    excellent working relationship.




    Peter S. Blouke, Ph.D.
    Director

    cc:    Mary Dalton                                   -.
           Nancy Ellery
           Terry Krantz
           Jeff Ireland
